                                UNITED STATES DISTRICT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

 U.S.A. vs. Fausto Fonseca Jr.                                                    Docket No. 7:11-CR-24-1D

                                 Petition for Action on Supervised Release

 COMES NOW Cierra M. Wallace, U.S. Probation Officer of the court, presenting a petition for
 modification of the Judgment and Commitment Order of Fausto Fonseca Jr., who, upon an earlier plea of
 guilty to Possession With Intent to Distribute a Quantity of Cocaine and a Quantity of Marijuana, in
 violation of 21 U.S.C. § 841 ( a)(l ), and Possession of a Firearm in Furtherance of a Drug Trafficking
 Crime, in violation of 18 U.S.C. § 924(c)(l)(a), was sentenced by the Honorable James C. Dever III, U.S.
 District Judge, on August 28, 2013, to the custody of the Bureau of Prisons for a term of90 months. It was
 further ordered that upon release from imprisonment the defendant be placed on 'supervised release for a
 period of 60 months.                                                                                   -

· Fausto Fonseca, Jr., was released from custody on August 21, 2019,' at which time the term of supervised
  release commenced.

 On February 14, 2020, a Petition for Action was submitted to the court requesting an added condition of
 mental health treatment. The Court agreed.                                     ·

 On July 13, 2020, a Petition for Action was submitted to the court reporting criminal conduct. It was
 recommended that the defendant would not have any contact with the victim and for supervision to continue.
 The Court agreed.

 RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
 FOLLOWS:

 Fausto reported he is interested in completing the Moral Reconation Therapy group that would reduce
 his chances to recidivate. Moral Reconation Therapy is a cognitive-behavioral treatment system that
 leads to enhanced moral reasoning, better decision making, and more appropriate behavior.

 The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

 PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

    ) . The defendant shall participate in a cognitive behavioral program as dire~_ted by the probation office.

 Except as herein modified, the judgment shall remain in full force and effect.




              Case 7:11-cr-00024-D Document 79 Filed 12/06/21 Page 1 of 2
Fausto Fonseca Jr.
Docket No. 7:11-CR-24-1D
Petition For Action
Page2

Reviewed and approved,                                              I declare under penalty of perjury that the foregoing
                                                                    is true and correct.


/s/ David W. Leake                                                  /s/ Cierra M. Wallace
David W. Leake                                                      Cierra M. Wallace
Supervising U.S. Probation Officer                                  U.S. Probation Officer
                                                                    414 Chestnut Street, Suite 102
                                                                    Wilmington, NC 28401-4290
                                                                    Phone: 910-679-2034
                                                                    Executed On: December 3,,2021




                                                 ORDER OF THE COURT



Considered and ordered this      lo      day of _ __.,~"",e.....,cp""'--"u.........,1,.,,,1 ="-"'---'' 2021, and ord~red filed and
made a part of the records in the above ca'.se.




Jams  C. Dever III
U.S. District Judge




                Case 7:11-cr-00024-D Document 79 Filed 12/06/21 Page 2 of 2
